                 Case 2:23-mj-30358-DUTY ECF No. 1, PageID.1
                                              AUSA:             Filed 08/30/23 Telephone:
                                                      Barbara Lanning            Page 1 of   7 226-9103
                                                                                          (313)
AO 91 (Rev. ) Criminal Complaint            Special Agent:           Danielle Stefanovski, ATF     Telephone: (313) 202-3400

                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                Eastern District of Michigan

United States of America
   v.                                                                                       &DVHíPMí
Kasaras Kemp                                                                                $VVLJQHG7R8QDVVLJQHG
                                                                           Case No.
                                                                                            $VVLJQ'DWH
                                                                                            'HVFULSWLRQ&20386$9.(03
                                                                                            .%




                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of                   August 28, 2023              in the county of                Wayne       in the
       Eastern            District of      Michigan         , the defendant(s) violated:
                  Code Section                                             Offense Description
18 U.S.C. § 922(g)(1)                                    Felon in Possession of a Firearm




         This criminal complaint is based on these facts:
See attached affidavit.




✔ Continued on the attached sheet.

                                                                                            Complainant’s signature

                                                                                 Danielle Stefanovski, Special Agent, ATF
                                                                                             Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date: August 30, 2023                                                                          Judge’s signature

City and state: Detroit, MI                                               Hon.
                                                                          Ho
                                                                           on.
                                                                             n R. Steven Whalen,, United States Magistrate
                                                                                                                  g        JJudge
                                                                                             Printed name and title
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                 IN THE UNITED STATES DISTRICT COURT
                  FOR EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

                          AFFIDAVIT IN SUPPORT OF
                          A CRIMINAL COMPLAINT

I, Special Agent Danielle Stefanovski, being first duly sworn, hereby state:

      1.     I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms

and Explosives (“ATF”). I am an “investigative or law enforcement officer of the

United States” within the meaning of Title 18, United States Code, Section

2510(7), and I am empowered by law to conduct investigations and make arrests of

offenses enumerated under federal law.

      2.     I have been an ATF Special Agent since March of 2018, and I have

had extensive law enforcement training, including the Criminal Investigator

Training Program at the Federal Law Enforcement Training Center, the United

States Secret Service (USSS) Special Agent Training Program in Beltsville,

Maryland, and ATF Special Agent Basic Training in Glynco, Georgia. I also

received a Bachelor of Business Administration from the University of Michigan.

      3.     As an ATF Special Agent, I have participated in numerous criminal

investigations, including investigations involving firearms, firearm traffickers,

armed drug tracking, and criminal street gangs. I am familiar with, and have

experience using, a variety of investigative techniques and resources, including



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physical and electronic surveillance, undercover investigation work, and various

types of informants and cooperating sources.

      4.       The statements contained in this affidavit are based, in part, on my

review of written police reports by Detroit Police Department (DPD) officers. This

affidavit also includes information provided to me by and/or through other law

enforcement agents, investigators, and individuals with knowledge of this matter,

my own investigation, and the review of documents.

      5.       ATF is currently conducting a criminal investigation concerning

Kasaras KEMP (B/M; DOB: XX/XX/1990) for violation of 18 U.S.C. § 922(g)(1)

(Felon in Possession of a Firearm).

                                PROBABLE CAUSE

      6.       I reviewed a computerized criminal history and Michigan Third

Circuit Court records for KEMP, which revealed the following felony arrests and

convictions.

               a. On August 2, 2007, KEMP was charged with felony unlawful

                  driving away of an automobile and receiving and concealing stolen

                  property—motor vehicle in Wayne County Third Circuit Court. On

                  August 2, 2007, KEMP pleaded guilty to one count of felony

                  unlawful driving away of an automobile. KEMP was initially

                  sentenced to two years’ probation pursuant to the Holmes Youthful

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           Trainee Act (HYTA). However, KEMP violated probation and his

           HYTA status was revoked on April 29, 2010.

        b. On September 1, 2008, KEMP was charged with carrying a

           concealed weapon in Wayne County Third Circuit Court. On

           January 27, 2009, KEMP pleaded guilty as charged. KEMP was

           initially sentenced to two years’ probation pursuant to the Holmes

           Youthful Trainee Act (HYTA). However, KEMP violated

           probation and his HYTA status was revoked on April 29, 2010.

        c. On December 16, 2009, KEMP was charged with assault with

           intent to murder, assault with intent to do great bodily harm less

           than murder, felonious assault, carrying a concealed weapon, and

           felony firearm in Wayne County Third Circuit Court. On April 29,

           2010, KEMP pleaded guilty to assault with intent to do great

           bodily harm less than murder and felony firearm. On May 12,

           2010, KEMP was sentenced to five to ten years’ incarceration in

           the Michigan Department of Corrections for the assault with intent

           to do great bodily harm and two years’ incarceration for the felony

           firearm, to run consecutively.

        d. On May 31, 2017, KEMP was charged with carrying a concealed

           weapon, felon in possession of a firearm, fleeing and eluding—

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                third degree, and felony firearm in Wayne County Third Circuit

                Court. On October 6, 2017, KEMP pleaded guilty to fleeing and

                eluding—third degree. On October 24, 2017, KEMP was

                sentenced to two to five years’ incarceration in the Michigan

                Department of Corrections. KEMP is still on parole for this

                offense.

            e. On September 26, 2021, KEMP was charged with assault with

                intent to murder, assault with intent to do great bodily harm less

                than murder, discharge of a weapon from a vehicle causing injury,

                and felony firearm in Wayne County Third Circuit Court. KEMP

                was found not guilty by jury on December 12, 2022.

            f. Because KEMP has multiple felony convictions, has served a total

                of more than nine years’ incarceration, is currently on parole with

                the Michigan Department of Corrections, and was previously

                charged with the offense felon in possession of a firearm in two

                separate cases, there is probable cause to believe that KEMP is

                aware of his status as a convicted felon.

      7.    On August 28, 2023, at approximately 7:02 p.m., Detroit Police

officers responded to the area of XXXX1 Mitchell Street in Detroit on a call for a

person with a weapon. The 911 caller reported that a black male with braids,

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wearing all black and red shoes was playing with a gun while standing in front of a

residence on Mitchell Street.

      8.     Responding officers encountered three males standing outside the

residence on Mitchell Street, including KEMP, who was wearing all black with red

shoes. The officers approached the trio and asked KEMP if he had a firearm.

KEMP gave an unintelligible verbal response and then ran from the officers. The

officers chased after him. KEMP ran into the backyard of a house across the street

and was apprehended by the officers. The officers recovered a loaded Glock 21

Gen4, .45 caliber handgun from KEMP’S pant leg. The officers placed KEMP

under arrest for carrying a concealed weapon.

      9.    On August 29, 2023, I contacted ATF Interstate Nexus Expert,

Special Agent Kara Klupacs and provided a verbal description of the Glock 21

Gen4, .45 caliber handgun recovered by Detroit Police officers on August 28,

2023. SA Klupacs advised the firearm was manufactured outside of the state of

Michigan, and therefore has traveled in and affected interstate commerce.

                                    CONCLUSION

      10.   Based upon the aforementioned facts stated herein, there is probable

cause to believe Kasaras KEMP (B/M; DOB: XX/XX/1990), a convicted felon

aware of his felony convictions, did knowingly and intentionally possess a Glock

21 Gen4, .45 caliber handgun, said firearm having affected interstate commerce, in

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violation of 18 U.S.C. 922(g)(1) (Felon in Possession of a Firearm). Said violation

occurring on or about August 28, 2023 in the city of Detroit, in the County of

Wayne, in the Eastern Judicial District of Michigan.



                                             Respectfully submitted,



                                             Danielle Stefanovski
                                             Special Agent, ATF


Sworn to before me and signed in my
presence and/or by reliable electronic means.


_____________________________________
_________   __________________
                         _      _____
      R.. S
Hon.. R   Steven
            teven Whalen
United
U nited States Magistrate Judge


Dated: August 30, 2023




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